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14

15                                   UNITED STATES DISTRICT COURT

16                                  NORTHERN DISTRICT OF CALIFORNIA

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18 ROADRUNNER RECYCLING, INC.,                       Case No. 3:23-cv-04804-WHA

19                     Plaintiff,
                                                     [PROPOSED] ORDER GRANTING
20                v.                                 STIPULATION OF DISMISSAL WITH
                                                     PREJUDICE
21 RECYCLE TRACK SYSTEMS, INC.,
   RECYCLESMART SOLUTIONS, INC.,
22                                                   Complaint Filed:   August 4, 2023
             Defendants.                             Trial Date:        December 9, 2024
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     72806983v1                                                         Case No. 3:23-cv-04804-WHA
                                             [PROPOSED] ORDER
 1                Before the Court is the Stipulation of Dismissal filed by Plaintiff RoadRunner Recycling,

 2 Inc. and Defendants Recycle Track Systems, Inc. and RecycleSmart Solutions, Inc. In light of the

 3 Stipulation, which the Court accepts and acknowledges, and pursuant to Rule 41(a)(2), all pending

 4 claims and causes of action in the above-captioned case are DISMISSED WITH PREJUDICE,

 5 each party to bear its own attorneys’ fees and costs.

 6                SO ORDERED.

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        Dated: December 3, 2024
                                                    By:
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                                                          THE HONORABLE WILLIAM H. ALSUP
10                                                        SENIOR DISTRICT COURT JUDGE

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     72806983v1                                            1                       Case No. 3:23-cv-04804-WHA
                                                  [PROPOSED] ORDER
